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                                                   UNITED STATES DISTRICT COURT
                    10                            CENTRAL DISTRICT OF CALIFORNIA
                    11
                               JOSEPH R. MEEHAN,                  ) Case No. 2:20-cv-09191-MWF(Ex)
                    12                                            )
                                                 Plaintiff,       ) NOTICE OF LODGING OF
                    13                                            ) ORDER ON APPLICATION FOR
                                           vs.                    ) THE COURT TO DIRECT CLERK
                    14                                            ) TO ENTER DEFAULT
                    15         ALLISON WOODARD,                   )
                                                                  ) Judge: The Honorable Michael W.
                    16                           Defendant.       ) Fitzgerald
                                                                  )
                    17                                            )
                                                                  )
                    18
                                    Plaintiff, JOSEPH R. MEEHAN, hereby lodges the proposed order,
                    19
                               attached as Exhibit 1, for the Court to direct the Clerk to Enter Default against
                    20
                               defendant, Allison Woodard.
                    21         Dated: January 18, 2021
                    22                                              UTZURRUM LAW OFFICES, A.P.C.
                    23
                    24
                    25                                              By:         /s/ Joe Utzurrum
                    26                                              Joe Utzurrum, Attorney for Plaintiff,
                    27                                              JOSEPH R. MEEHAN
                    28
                                                                                                    Notice of Lodging
UTZURRUM LAW OFFICES, A.P.C.
